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 Fill in this information to identify your case:

 United States Bankruptcy Court for the:

                 Southern District of Texas

 Case number (If known):                               Chapter you are filing under:
                                                       ❑        Chapter 7
                                                       ❑        Chapter 11
                                                       ❑        Chapter 12
                                                       ✔
                                                       ❑        Chapter 13
                                                                                                                                                 ❑Check if this is an
                                                                                                                                                    amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                                04/20
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint case—and in joint
cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would be yes if either debtor owns
a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the
spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Identify Yourself

                                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):
  1.   Your full name

       Write the name that is on your              Rolando
       government-issued picture                   First name                                                       First name
       identification (for example, your
                                                   A
       driver’s license or passport).
                                                   Middle name                                                      Middle name
       Bring your picture identification to        Sierra Maldonado
       your meeting with the trustee.              Last name                                                        Last name


                                                   Suffix (Sr., Jr, II, III)                                         Suffix (Sr., Jr, II, III)




  2.   All other names you have used
       in the last 8 years
                                                   First name                                                       First name
       Include your married or maiden
       names.                                      Middle name                                                      Middle name


                                                   Last name                                                        Last name




                                                   First name                                                       First name


                                                   Middle name                                                      Middle name


                                                   Last name                                                        Last name




  3.   Only the last 4 digits of your
                                                   xxx - xx - 9        7       3   6                                xxx - xx -
       Social Security number or
       federal Individual Taxpayer                 OR                                                               OR
       Identification number                       9xx - xx -                                                       9xx - xx -
       (ITIN)




Official Form 101                                                   Voluntary Petition for Individuals Filing for Bankruptcy                                            page 1
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 Debtor 1            Rolando             A                              Sierra Maldonado                                 Case number (if known)
                     First Name          Middle Name                    Last Name


                                         About Debtor 1:                                                      About Debtor 2 (Spouse Only in a Joint Case):



                                          ❑I have not used any business names or EINs.                        ❑I have not used any business names or EINs.
  4.   Any business names and
       Employer Identification
       Numbers (EIN) you have used
                                             SIKA Holdings, LLC
       in the last 8 years
                                          Business name                                                       Business name
       Include trade names and doing
       business as names                     SIKA Trading LLC
                                          Business name                                                       Business name

                                             8     1   -   0       7     8   3      8   9    4                             -
                                          EIN                                                                 EIN

                                             4     6   -   1       7     0   2      7   7    6                             -
                                          EIN                                                                 EIN

                                         See continuation page.



                                                                                                              If Debtor 2 lives at a different address:
  5.   Where you live
                                             2 Ivy Castle Ct
                                          Number               Street                                         Number            Street




                                             The Woodlands, TX 77382
                                          City                                      State    ZIP Code         City                                     State     ZIP Code

                                             Montgomery
                                          County                                                              County

                                          If your mailing address is different from the one above, fill If Debtor 2's mailing address is different from yours, fill it
                                          it in here. Note that the court will send any notices to you at in here. Note that the court will send any notices to you at this
                                          this mailing address.                                           mailing address.


                                          Number               Street                                         Number            Street



                                          P.O. Box                                                            P.O. Box



                                          City                                      State    ZIP Code         City                                     State     ZIP Code




  6.   Why you are choosing this          Check one:                                                          Check one:
       district to file for bankruptcy
                                          ✔
                                          ❑      Over the last 180 days before filing this petition, I have   ❑      Over the last 180 days before filing this petition, I have
                                                 lived in this district longer than in any other district.           lived in this district longer than in any other district.

                                          ❑      I have another reason. Explain.                              ❑      I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408)                                              (See 28 U.S.C. § 1408)




Official Form 101                                          Voluntary Petition for Individuals Filing for Bankruptcy                                                          page 2
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 Debtor 1            Rolando             A                       Sierra Maldonado                                      Case number (if known)
                    First Name           Middle Name                 Last Name


 Part 2: Tell the Court About Your Bankruptcy Case


                                         Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
  7.   The chapter of the Bankruptcy     (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
                                         ❑
       Code you are choosing to file
       under                                   Chapter 7
                                         ❑     Chapter 11
                                         ❑     Chapter 12
                                         ✔
                                         ❑     Chapter 13



  8.   How you will pay the fee          ✔
                                         ❑   I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more details
                                             about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
                                             order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                             a pre-printed address.

                                         ❑   I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                             The Filing Fee in Installments (Official Form 103A).

                                         ❑   I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                             but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line
                                             that applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill
                                             out the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.




                                         ✔ No.
                                         ❑
  9.   Have you filed for bankruptcy
       within the last 8 years?          ❑Yes.     District                                          When                          Case number
                                                                                                            MM / DD / YYYY

                                                   District                                          When                          Case number
                                                                                                            MM / DD / YYYY

                                                   District                                          When                          Case number
                                                                                                            MM / DD / YYYY



                                         ✔ No.
                                         ❑
  10. Are any bankruptcy cases
       pending or being filed by a       ❑Yes.     Debtor                                                                       Relationship to you
       spouse who is not filing this
       case with you, or by a business             District                                      When                           Case number, if known
       partner, or by an affiliate?                                                                     MM / DD / YYYY


                                                   Debtor                                                                       Relationship to you

                                                   District                                      When                           Case number, if known
                                                                                                        MM / DD / YYYY



                                         ✔
                                         ❑   No.    Go to line 12.
  11. Do you rent your residence?
                                         ❑   Yes. Has your landlord obtained an eviction judgment against you?

                                                    ❑   No. Go to line 12.

                                                    ❑   Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part
                                                        of this bankruptcy petition.




Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                                             page 3
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 Debtor 1             Rolando                 A                        Sierra Maldonado                                   Case number (if known)
                      First Name              Middle Name               Last Name


 Part 3: Report About Any Businesses You Own as a Sole Proprietor

                                              ✔
                                              ❑   No. Go to Part 4.
  12. Are you a sole proprietor of any
      full- or part-time business?            ❑   Yes. Name and location of business

      A sole proprietorship is a business
      you operate as an individual, and is        Name of business, if any
      not a separate legal entity such as
      a corporation, partnership, or LLC.
                                                  Number           Street
      If you have more than one sole
      proprietorship, use a separate
      sheet and attach it to this petition.

                                                  City                                                       State         ZIP Code

                                                  Check the appropriate box to describe your business:

                                                  ❑      Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                  ❑      Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                                  ❑      Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                                  ❑      Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                                  ❑      None of the above




                                              If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to proceed
  13. Are you filing under Chapter 11         under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business debtor or you are
      of the Bankruptcy Code, and             choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations, cash-flow
      are you a small business debtor         statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      or a debtor as defined by 11
      U.S. C. § 1182(1)?                      ✔
                                              ❑   No.        I am not filing under Chapter 11.

      For a definition of small business      ❑   No.        I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the
      debtor, see 11 U.S.C. § 101(51D).                      Bankruptcy Code.

                                              ❑   Yes.       I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy
                                                             Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                              ❑   Yes.       I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy Code,
                                                             and I choose to proceed under Subchapter V of Chapter 11.


 Part 4: Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

  14. Do you own or have any                  ✔
                                              ❑   No.
      property that poses or is
      alleged to pose a threat of             ❑   Yes.     What is the hazard?
      imminent and identifiable
      hazard to public health or
      safety? Or do you own any
      property that needs immediate
      attention?                                           If immediate attention is needed, why is it needed?
      For example, do you own
      perishable goods, or livestock that
      must be fed, or a building that
      needs urgent repairs?
                                                           Where is the property?
                                                                                    Number          Street




                                                                                      City                                                State               ZIP Code



Official Form 101                                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 4
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 Debtor 1            Rolando              A                          Sierra Maldonado                                   Case number (if known)
                     First Name            Middle Name                Last Name


 Part 5: Explain Your Efforts to Receive a Briefing About Credit Counseling


  15. Tell the court whether you          About Debtor 1:                                                      About Debtor 2 (Spouse Only in a Joint Case):
      have received a briefing
      about credit counseling.

      The law requires that you           You must check one:                                                  You must check one:
                                          ✔
      receive a briefing about credit
      counseling before you file for      ❑    I received a briefing from an approved credit counseling        ❑    I received a briefing from an approved credit counseling
      bankruptcy. You must truthfully          agency within the 180 days before I filed this bankruptcy            agency within the 180 days before I filed this bankruptcy
      check one of the following               petition, and I received a certificate of completion.                petition, and I received a certificate of completion.
      choices. If you cannot do so, you        Attach a copy of the certificate and the payment plan, if            Attach a copy of the certificate and the payment plan, if
      are not eligible to file.                any, that you developed with the agency.                             any, that you developed with the agency.

      If you file anyway, the court can   ❑    I received a briefing from an approved credit counseling        ❑    I received a briefing from an approved credit counseling
      dismiss your case, you will lose         agency within the 180 days before I filed this bankruptcy            agency within the 180 days before I filed this bankruptcy
      whatever filing fee you paid, and        petition, but I do not have a certificate of completion.             petition, but I do not have a certificate of completion.
      your creditors can begin                 Within 14 days after you file this bankruptcy petition, you          Within 14 days after you file this bankruptcy petition, you
      collection activities again.             MUST file a copy of the certificate and payment plan, if             MUST file a copy of the certificate and payment plan, if
                                               any.                                                                 any.

                                          ❑    I certify that I asked for credit counseling services from an   ❑    I certify that I asked for credit counseling services from an
                                               approved agency, but was unable to obtain those services             approved agency, but was unable to obtain those services
                                               during the 7 days after I made my request, and exigent               during the 7 days after I made my request, and exigent
                                               circumstances merit a 30-day temporary waiver of the                 circumstances merit a 30-day temporary waiver of the
                                               requirement.                                                         requirement.
                                               To ask for a 30-day temporary waiver of the requirement,             To ask for a 30-day temporary waiver of the requirement,
                                               attach a separate sheet explaining what efforts you made             attach a separate sheet explaining what efforts you made
                                               to obtain the briefing, why you were unable to obtain it             to obtain the briefing, why you were unable to obtain it
                                               before you filed for bankruptcy, and what exigent                    before you filed for bankruptcy, and what exigent
                                               circumstances required you to file this case.                        circumstances required you to file this case.

                                               Your case may be dismissed if the court is dissatisfied              Your case may be dismissed if the court is dissatisfied
                                               with your reasons for not receiving a briefing before you            with your reasons for not receiving a briefing before you
                                               filed for bankruptcy.                                                filed for bankruptcy.

                                               If the court is satisfied with your reasons, you must still          If the court is satisfied with your reasons, you must still
                                               receive a briefing within 30 days after you file.                    receive a briefing within 30 days after you file.
                                               You must file a certificate from the approved agency,                You must file a certificate from the approved agency,
                                               along with a copy of the payment plan you developed, if              along with a copy of the payment plan you developed, if
                                               any. If you do not do so, your case may be dismissed.                any. If you do not do so, your case may be dismissed.

                                               Any extension of the 30-day deadline is granted only for             Any extension of the 30-day deadline is granted only for
                                               cause and is limited to a maximum of 15 days.                        cause and is limited to a maximum of 15 days.

                                          ❑    I am not required to receive a briefing about credit            ❑    I am not required to receive a briefing about credit
                                               counseling because of:                                               counseling because of:
                                               ❑    Incapacity. I have a mental illness or a mental                 ❑    Incapacity. I have a mental illness or a mental
                                                                deficiency that makes me incapable                                   deficiency that makes me incapable
                                                                of realizing or making rational                                      of realizing or making rational
                                                                decisions about finances.                                            decisions about finances.
                                               ❑    Disability.   My physical disability causes me to               ❑    Disability.   My physical disability causes me to
                                                                  be unable to participate in a briefing                               be unable to participate in a briefing
                                                                  in person, by phone, or through the                                  in person, by phone, or through the
                                                                  internet, even after I reasonably tried                              internet, even after I reasonably tried
                                                                  to do so.                                                            to do so.
                                               ❑    Active duty. I am currently on active military duty in          ❑    Active duty. I am currently on active military duty in
                                                                 a military combat zone.                                              a military combat zone.

                                               If you believe you are not required to receive a briefing            If you believe you are not required to receive a briefing
                                               about credit counseling, you must file a motion for waiver           about credit counseling, you must file a motion for waiver
                                               of credit counseling with the court.                                 of credit counseling with the court.




Official Form 101                                           Voluntary Petition for Individuals Filing for Bankruptcy                                                             page 5
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 Debtor 1            Rolando                A                         Sierra Maldonado                                    Case number (if known)
                     First Name             Middle Name               Last Name


 Part 6: Answer These Questions for Reporting Purposes


  16. What kind of debts do you                 16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by
      have?                                          an individual primarily for a personal, family, or household purpose.”
                                                      ❑    No. Go to line 16b.
                                                      ✔
                                                      ❑    Yes. Go to line 17.

                                                16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain money for a
                                                     business or investment or through the operation of the business or investment.
                                                      ❑    No. Go to line 16c.
                                                      ❑    Yes. Go to line 17.

                                                16c. State the type of debts you owe that are not consumer debts or business debts.



  17. Are you filing under Chapter 7?           ✔
                                                ❑     No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after any            ❑     Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative
      exempt property is excluded and                      expenses are paid that funds will be available to distribute to unsecured creditors?
      administrative expenses are paid                        ❑    No
      that funds will be available for                        ❑    Yes
      distribution to unsecured
      creditors?

  18. How many creditors do you                  ✔
                                                 ❑    1-49          ❑    1,000-5,000           ❑     25,001-50,000 ❑ 50,000-100,000 ❑ More than 100,000
      estimate that you owe?                     ❑    50-99         ❑    5,001-10,000
                                                 ❑    100-199       ❑    10,001-25,000
                                                 ❑    200-999


  19. How much do you estimate your              ❑    $0-$50,000                       ❑    $1,000,001-$10 million                    ❑    $500,000,001-$1 billion
      assets to be worth?                        ❑    $50,001-$100,000                 ❑    $10,000,001-$50 million                   ❑    $1,000,000,001-$10 billion
                                                 ❑    $100,001-$500,000                ❑    $50,000,001-$100 million                  ❑    $10,000,000,001-$50 billion
                                                 ✔
                                                 ❑    $500,001-$1 million              ❑    $100,000,001-$500 million                 ❑    More than $50 billion


  20. How much do you estimate your              ❑    $0-$50,000                       ❑    $1,000,001-$10 million                    ❑    $500,000,001-$1 billion
      liabilities to be?                         ❑    $50,001-$100,000                 ❑    $10,000,001-$50 million                   ❑    $1,000,000,001-$10 billion
                                                 ❑    $100,001-$500,000                ❑    $50,000,001-$100 million                  ❑    $10,000,000,001-$50 billion
                                                 ✔
                                                 ❑    $500,001-$1 million              ❑    $100,000,001-$500 million                 ❑    More than $50 billion

 Part 7: Sign Below


  For you                         I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.
                                  If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United States
                                  Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.
                                  If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I have
                                  obtained and read the notice required by 11 U.S.C. § 342(b).
                                  I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                  I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case
                                  can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

                                    ✘ /s/ Rolando A Sierra Maldonado
                                         Rolando A Sierra Maldonado, Debtor 1
                                         Executed on 08/03/2020
                                                          MM/ DD/ YYYY




Official Form 101                                          Voluntary Petition for Individuals Filing for Bankruptcy                                                          page 6
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 Debtor 1            Rolando                A                         Sierra Maldonado                                   Case number (if known)
                     First Name             Middle Name                Last Name



   For your attorney, if you are                I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
   represented by one                           under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter for
                                                which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b) and,
   If you are not represented by an             in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the schedules
   attorney, you do not need to file this       filed with the petition is incorrect.
   page.

                                                ✘ /s/ Ricardo Guerra                                                      Date 08/03/2020
                                                                                                                                MM / DD / YYYY
                                                     Signature of Attorney for Debtor



                                                     Ricardo Guerra
                                                    Printed name

                                                    Guerra Days Law Group, PLLC
                                                    Firm name

                                                    2929 Mossrock, Ste. 111
                                                    Number      Street



                                                    San Antonio                                                         TX       78230
                                                    City                                                                State    ZIP Code



                                                    Contact phone (210) 446-0102                        Email address bankruptcy@guerradays.com


                                                    24074331                                                            TX
                                                    Bar number                                                          State




Official Form 101                                           Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 7
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 Debtor 1            Rolando           A                         Sierra Maldonado                                 Case number (if known)
                     First Name        Middle Name               Last Name


 Additional Items: Continuation Page

                                       About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):


  4.   Any business names and
       Employer Identification             BLAUTech LLC
       Numbers (EIN) you have used      Business name
       in the last 8 years (cont)
                                           8   1   -    4    2   -   4   -   4   7   6    7
       Include trade names and doing    EIN
       business as names




Official Form 101                                      Voluntary Petition for Individuals Filing for Bankruptcy                                         page 8
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 Fill in this information to identify your case and this filing:

  Debtor 1                          Rolando                      A                          Sierra Maldonado
                                   First Name                   Middle Name                Last Name

  Debtor 2
  (Spouse, if filing)              First Name                   Middle Name                Last Name

  United States Bankruptcy Court for the:                                           Southern District of Texas
                                                                                                                                                                                   ❑   Check if this is an
  Case number                                                                                                                                                                          amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you think it
fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
      ❑ No. Go to Part 2.
      ✔ Yes. Where is the property?
      ❑
      1.1     2 Ivy Castle Ct                                                 What is the property? Check all that apply.                                  Do not deduct secured claims or exemptions. Put the
              Street address, if available, or other
              description
                                                                             ✔ Single-family home
                                                                             ❑                                                                             amount of any secured claims on Schedule D: Creditors

                                                                             ❑ Duplex or multi-unit building
                                                                                                                                                           Who Have Claims Secured by Property.

                                                                             ❑ Condominium or cooperative                                                Current value of the            Current value of the
                                                                             ❑ Manufactured or mobile home                                               entire property?                portion you own?
              Spring, TX 77382                                               ❑ Land                                                                                    $852,430.00                    $852,430.00
              City                               State        ZIP Code       ❑ Investment property
                                                                             ❑ Timeshare                                                                 Describe the nature of your ownership interest (such
                                                                                                                                                         as fee simple, tenancy by the entireties, or a life
               Montgomery
              County
                                                                             ❑ Other                                                                     estate), if known.
                                                                              Who has an interest in the property? Check one.
                                                                                                                                                           Homestead
                                                                             ✔ Debtor 1 only
                                                                             ❑
                                                                             ❑ Debtor 2 only
                                                                             ❑ Debtor 1 and Debtor 2 only                                                 ❑ Check if this is community property
                                                                                                                                                              (see instructions)
                                                                             ❑ At least one of the debtors and another
 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here.........................................................................................................                  ➜            $852,430.00




Official Form 106A/B                                                                                    Schedule A/B: Property                                                                         page 1
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 Debtor 1                   Rolando                       A                                Sierra Maldonado                                                    Case number (if known)
                            First Name                    Middle Name                       Last Name




 Part 2: Describe Your Vehicles



 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
       ❑ No
       ✔ Yes
       ❑
       3.1 Make:                                   Mercedes-Benz Who has an interest in the property? Check one.                                             Do not deduct secured claims or exemptions. Put the

                                                   C300
                                                                             ✔ Debtor 1 only
                                                                             ❑                                                                               amount of any secured claims on Schedule D: Creditors

                                                                             ❑ Debtor 2 only
            Model:                                                                                                                                           Who Have Claims Secured by Property.

                                                   2016                      ❑ Debtor 1 and Debtor 2 only                                                  Current value of the         Current value of the
                                                                             ❑ At least one of the debtors and another
            Year:
                                                                                                                                                           entire property?             portion you own?
                                                   59000
            Approximate mileage:                                                                                                                                         $13,000.00                  $13,000.00

            Other information:                                               ❑Check if this is community property (see
                                                                                 instructions)




      If you own or have more than one, list here:

       3.2 Make:                                   BMW                       Who has an interest in the property? Check one.                                 Do not deduct secured claims or exemptions. Put the

                                                   X5
                                                                             ✔ Debtor 1 only
                                                                             ❑                                                                               amount of any secured claims on Schedule D: Creditors

                                                                             ❑ Debtor 2 only
            Model:                                                                                                                                           Who Have Claims Secured by Property.

                                                   2019                      ❑ Debtor 1 and Debtor 2 only                                                  Current value of the         Current value of the
                                                                             ❑ At least one of the debtors and another
            Year:
                                                                                                                                                           entire property?             portion you own?
                                                   18000
            Approximate mileage:                                                                                                                                         $44,000.00                  $44,000.00

            Other information:                                               ❑Check if this is community property (see
                                                                                 instructions)




 4.     Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
        Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
        ✔ No
        ❑
        ❑ Yes
 5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
       you have attached for Part 2. Write that number here.........................................................................................................                  ➜            $57,000.00




 Part 3: Describe Your Personal and Household Items

  Do you own or have any legal or equitable interest in any of the following items?                                                                                                     Current value of the
                                                                                                                                                                                        portion you own?
                                                                                                                                                                                        Do not deduct secured
                                                                                                                                                                                        claims or exemptions.




Official Form 106A/B                                                                                     Schedule A/B: Property                                                                      page 2
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 Debtor 1              Rolando                A                         Sierra Maldonado                                  Case number (if known)
                       First Name             Middle Name               Last Name



 6.    Household goods and furnishings
       Examples:    Major appliances, furniture, linens, china, kitchenware

       ❑ No
       ✔ Yes. Describe........
       ❑
                                      Household goods and furnishings
                                                                                                                                                   $15,750.00


 7. Electronics
       Examples:    Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections;
                    electronic devices including cell phones, cameras, media players, games

       ❑ No
       ✔ Yes. Describe........
       ❑
                                      Misc. Electronics                                                                                             $8,500.00



 8.    Collectibles of value
       Examples:    Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                    stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
       ✔ No
       ❑
       ❑ Yes. Describe........

 9. Equipment for sports and hobbies
       Examples:    Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks;
                    carpentry tools; musical instruments
       ✔ No
       ❑
       ❑ Yes. Describe........

 10.    Firearms
        Examples:    Pistols, rifles, shotguns, ammunition, and related equipment
        ✔ No
        ❑
        ❑ Yes. Describe........

 11.    Clothes
        Examples:    Everyday clothes, furs, leather coats, designer wear, shoes, accessories

        ❑ No
        ✔ Yes. Describe........
        ❑
                                      Men's and women's misc. clothing and shoes                                                                    $1,000.00



 12.    Jewelry
        Examples:    Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver

        ❑ No
        ✔ Yes. Describe........
        ❑
                                      Men's and women's misc. jewelry
                                                                                                                                                    $1,500.00



 13.    Non-farm animals
        Examples:    Dogs, cats, birds, horses
        ✔ No
        ❑
        ❑ Yes. Describe........




Official Form 106A/B                                                              Schedule A/B: Property                                           page 3
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 Debtor 1                     Rolando                            A                                     Sierra Maldonado                                                            Case number (if known)
                              First Name                         Middle Name                            Last Name



 14.   Any other personal and household items you did not already list, including any health aids you did not list

       ✔ No
       ❑
       ❑ Yes. Describe........

 15.   Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
       for Part 3. Write that number here........................................................................................................................................➜                                     $26,750.00




 Part 4: Describe Your Financial Assets

  Do you own or have any legal or equitable interest in any of the following?                                                                                                                               Current value of the
                                                                                                                                                                                                            portion you own?
                                                                                                                                                                                                            Do not deduct secured
                                                                                                                                                                                                            claims or exemptions.


 16.   Cash
       Examples:           Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
       ✔ No
       ❑
       ❑ Yes........................................................................................................................................................   Cash..............



 17.   Deposits of money
       Examples:           Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other
                           similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes..................
       ❑
                                                                Institution name:



       17.1. Checking account:                                   Chase Checking Ending In 9176                                                                                              $3,306.00


       17.2. Checking account:


       17.3. Savings account:                                    BofA Savings 8517                                                                                                          $4,008.36


       17.4. Savings account:


       17.5. Certificates of deposit:


       17.6. Other financial account:


       17.7. Other financial account:


       17.8. Other financial account:


       17.9. Other financial account:




Official Form 106A/B                                                                                                    Schedule A/B: Property                                                                          page 4
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 Debtor 1                 Rolando                A                      Sierra Maldonado                                   Case number (if known)
                          First Name             Middle Name             Last Name



 18.   Bonds, mutual funds, or publicly traded stocks
       Examples:        Bond funds, investment accounts with brokerage firms, money market accounts
       ✔ No
       ❑
       ❑ Yes..................
       Institution or issuer name:




 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
       an LLC, partnership, and joint venture

       ❑ No
       ✔ Yes. Give specific
       ❑
            information about
            them...................

       Name of entity:                                                                    % of ownership:


       SIKA Trading LLC                                                                   100               %                      unknown


       BLAUTech LLC                                                                       50                %                      unknown


       SIKA Holdings LLC                                                                  100               %                      unknown


 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................

       Issuer name:




 21.   Retirement or pension accounts
       Examples:        Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
       ✔ No
       ❑
       ❑ Yes. List each account
            separately.
       Type of account:                Institution name:

       401(k) or similar plan:


       Pension plan:


       IRA:


       Retirement account:


       Keogh:



Official Form 106A/B                                                               Schedule A/B: Property                                           page 5
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 Debtor 1                 Rolando                   A                 Sierra Maldonado                                Case number (if known)
                          First Name                Middle Name        Last Name



       Additional account:


 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
       others
       ✔ No
       ❑
       ❑ Yes.....................
                                    Institution name or individual:

       Electric:


       Gas:


       Heating oil:


       Security deposit on rental unit:


       Prepaid rent:


       Telephone:


       Water:


       Rented furniture:


       Other:


 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes.....................
       Issuer name and description:




 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       ✔ No
       ❑
       ❑ Yes.....................
       Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c):




Official Form 106A/B                                                             Schedule A/B: Property                                        page 6
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 Debtor 1              Rolando                  A                     Sierra Maldonado                                   Case number (if known)
                       First Name               Middle Name            Last Name



 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your
       benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples:     Internet domain names, websites, proceeds from royalties and licensing agreements
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


 27.   Licenses, franchises, and other general intangibles
       Examples:     Building permits, exclusive licenses, cooperative association holdings, liquor licenses,
                     professional licenses
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


Money or property owed to you?                                                                                                                    Current value of the
                                                                                                                                                  portion you own?
                                                                                                                                                  Do not deduct secured
                                                                                                                                                  claims or exemptions.


 28.   Tax refunds owed to you

       ✔ No
       ❑
       ❑ Yes.    Give specific information about                                                                           Federal:
                 them, including whether you
                 already filed the returns and the                                                                         State:
                 tax years.......................
                                                                                                                           Local:



 29.   Family support
       Examples:     Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

       ✔ No
       ❑
       ❑ Yes.    Give specific information..........
                                                                                                                           Alimony:

                                                                                                                           Maintenance:

                                                                                                                           Support:

                                                                                                                           Divorce settlement:

                                                                                                                           Property settlement:


 30.   Other amounts someone owes you
       Examples:     Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social
                     Security benefits; unpaid loans you made to someone else
       ✔ No
       ❑
       ❑ Yes.    Give specific information..........




Official Form 106A/B                                                            Schedule A/B: Property                                                       page 7
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 Debtor 1                   Rolando                       A                                 Sierra Maldonado                                                      Case number (if known)
                           First Name                      Middle Name                       Last Name



 31.   Interests in insurance policies
       Examples:         Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

       ❑ No
       ✔ Yes.
       ❑            Name the insurance company
                                                                           Company name:                                                             Beneficiary:                          Surrender or refund value:
                    of each policy and list its value....
                                                                            Ohio National Life Assurance Corp.
                                                                            20 year term policy                                                     Children                                                unknown

                                                                            United of Omaha                                                         Claudia Kattan                                          unknown


 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property
       because someone has died.
       ✔ No
       ❑
       ❑ Yes.       Give specific information..........




 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples:         Accidents, employment disputes, insurance claims, or rights to sue
       ✔ No
       ❑
       ❑ Yes.       Describe each claim................




 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
       to set off claims

       ✔ No
       ❑
       ❑ Yes.       Describe each claim................




 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes.       Give specific information..........




 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here..................................................................................................................................➜                              $7,314.36



 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?
       ✔No. Go to Part 6.
       ❑
       ❑Yes. Go to line 38.
                                                                                                                                                                                             Current value of the
                                                                                                                                                                                             portion you own?
                                                                                                                                                                                             Do not deduct secured
                                                                                                                                                                                             claims or exemptions.




Official Form 106A/B                                                                                       Schedule A/B: Property                                                                         page 8
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 Debtor 1                   Rolando                       A                                 Sierra Maldonado                                                      Case number (if known)
                           First Name                      Middle Name                       Last Name



 38.   Accounts receivable or commissions you already earned

       ✔ No
       ❑
       ❑ Yes. Describe........

 39.   Office equipment, furnishings, and supplies
       Examples:         Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

       ✔ No
       ❑
       ❑ Yes. Describe........

 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ✔ No
       ❑
       ❑ Yes. Describe........

 41.   Inventory

       ✔ No
       ❑
       ❑ Yes. Describe........

 42.   Interests in partnerships or joint ventures

       ✔ No
       ❑
       ❑ Yes. Describe........
       Name of entity:                                                                                               % of ownership:

                                                                                                                                            %


 43.   Customer lists, mailing lists, or other compilations
       ✔ No
       ❑
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
               ✔ No
               ❑
               ❑ Yes. Describe........

 44.   Any business-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.........




 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
       for Part 5. Write that number here.................................................................................................................................➜                    $0.00



 Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
         If you own or have an interest in farmland, list it in Part 1.

 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       ✔No. Go to Part 7.
       ❑
       ❑Yes. Go to line 47.

Official Form 106A/B                                                                                       Schedule A/B: Property                                                          page 9
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 Debtor 1                    Rolando                         A                                   Sierra Maldonado                                                        Case number (if known)
                            First Name                       Middle Name                          Last Name



                                                                                                                                                                                                  Current value of the
                                                                                                                                                                                                  portion you own?
                                                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                                                  claims or exemptions.

 47.   Farm animals
       Examples:          Livestock, poultry, farm-raised fish
       ✔ No
       ❑
       ❑ Yes.........................

 48.   Crops—either growing or harvested

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............


 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ✔ No
       ❑
       ❑ Yes..........................


 50.   Farm and fishing supplies, chemicals, and feed

       ✔ No
       ❑
       ❑ Yes..........................


 51.   Any farm- and commercial fishing-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............



 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
       for Part 6. Write that number here...................................................................................................................................➜                                     $0.00



 Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above


 53.   Do you have other property of any kind you did not already list?
       Examples:          Season tickets, country club membership
       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here.....................................................➜                                                                      $0.00



 Part 8: List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2..........................................................................................................................................➜                         $852,430.00



Official Form 106A/B                                                                                            Schedule A/B: Property                                                                      page 10
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 Debtor 1                 Rolando                      A                               Sierra Maldonado                                                  Case number (if known)
                          First Name                    Middle Name                     Last Name



 56.   Part 2: Total vehicles, line 5                                                                            $57,000.00


 57.   Part 3: Total personal and household items, line 15                                                       $26,750.00


 58.   Part 4: Total financial assets, line 36                                                                     $7,314.36


 59.   Part 5: Total business-related property, line 45                                                                 $0.00


 60.   Part 6: Total farm- and fishing-related property, line 52                                                        $0.00


 61.   Part 7: Total other property not listed, line 54                                      +                          $0.00


 62.   Total personal property. Add lines 56 through 61..............                                            $91,064.36           Copy personal property total➜        +      $91,064.36




 63.   Total of all property on Schedule A/B. Add line 55 + line 62.................................................................................................                $943,494.36




Official Form 106A/B                                                                                 Schedule A/B: Property                                                          page 11
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 Fill in this information to identify your case:

  Debtor 1                    Rolando              A                   Sierra Maldonado
                              First Name           Middle Name         Last Name

  Debtor 2
  (Spouse, if filing)         First Name           Middle Name         Last Name

  United States Bankruptcy Court for the:                         Southern District of Texas

  Case number                                                                                                                          ❑    Check if this is an
  (if known)                                                                                                                                amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                         04/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill out and
attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar amount as
exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit. Some
exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount. However, if you
claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the property is determined to
exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1: Identify the Property You Claim as Exempt

      Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
 1.
      ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      ❑
      ❑ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 Brief description of the property and line on               Current value of the        Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                       portion you own
                                                             Copy the value from         Check only one box for each exemption.
                                                             Schedule A/B

                                                                                         ✔
 Brief description:
 2 Ivy Castle Ct Spring, TX 77382                                        $852,430.00
                                                                                         ❑                $112,430.00             Const. art. 16 §§ 50, 51, Texas Prop.
                                                                                         ❑    100% of fair market value, up to    Code §§ 41.001-.002
 Line from                                                                                    any applicable statutory limit
 Schedule A/B:          1.1


                                                                                         ✔
 Brief description:
 2016 Mercedes-Benz C300                                                   $13,000.00
                                                                                         ❑                   $0.00                Tex. Prop. Code §§ 42.001(a),
                                                                                         ❑    100% of fair market value, up to    42.002(a)(9)
 Line from                                                                                    any applicable statutory limit
 Schedule A/B:          3.1


 3.   Are you claiming a homestead exemption of more than $170,350?
      (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
      ✔ No
      ❑
      ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
         ❑ No
         ❑ Yes




Official Form 106C                                               Schedule C: The Property You Claim as Exempt                                                     page 1 of 2
                            Case 20-33930 Document 1 Filed in TXSB on 08/03/20 Page 21 of 55

 Debtor 1             Rolando            A                      Sierra Maldonado                                Case number (if known)
                      First Name          Middle Name            Last Name


 Part 2: Additional Page

 Brief description of the property and line on          Current value of the     Amount of the exemption you claim           Specific laws that allow exemption
 Schedule A/B that lists this property                  portion you own
                                                        Copy the value from      Check only one box for each exemption.
                                                        Schedule A/B

                                                                                 ✔
 Brief description:
 2019 BMW X5                                                        $44,000.00
                                                                                 ❑               $15,634.00                 Tex. Prop. Code §§ 42.001(a),
                                                                                 ❑   100% of fair market value, up to       42.002(a)(9)
 Line from                                                                           any applicable statutory limit
 Schedule A/B:        3.2


                                                                                 ✔
 Brief description:
 Household goods and furnishings                                    $15,750.00
                                                                                 ❑               $15,750.00                 Tex. Prop. Code §§ 42.001(a),
                                                                                 ❑   100% of fair market value, up to       42.002(a)(1)
 Line from                                                                           any applicable statutory limit
 Schedule A/B:         6


                                                                                 ✔
 Brief description:
 Misc. Electronics                                                   $8,500.00
                                                                                 ❑                $8,500.00                 Tex. Prop. Code §§ 42.001(a),
                                                                                 ❑   100% of fair market value, up to       42.002(a)(1)
 Line from                                                                           any applicable statutory limit
 Schedule A/B:         7


                                                                                 ✔
 Brief description:
 Men's and women's misc. clothing and shoes                          $1,000.00
                                                                                 ❑                $1,000.00                 Tex. Prop. Code §§ 42.001(a),
                                                                                 ❑   100% of fair market value, up to       42.002(a)(5)
 Line from                                                                           any applicable statutory limit
 Schedule A/B:        11


                                                                                 ✔
 Brief description:
 Men's and women's misc. jewelry                                     $1,500.00
                                                                                 ❑                $1,500.00                 Tex. Prop. Code §§ 42.001(a),
                                                                                 ❑   100% of fair market value, up to       42.002(a)(6)
 Line from                                                                           any applicable statutory limit
 Schedule A/B:        12


                                                                                 ✔
 Brief description:
 Ohio National Life Assurance Corp. 20 year term                       unknown
                                                                                 ❑                unknown                   Tex. Ins. Code §§ 1108.001, 1108.051

 policy                                                                          ❑   100% of fair market value, up to
                                                                                     any applicable statutory limit
 Line from
 Schedule A/B:        31


                                                                                 ✔
 Brief description:
 United of Omaha                                                       unknown
                                                                                 ❑                unknown                   Tex. Ins. Code §§ 1108.001, 1108.051
                                                                                 ❑   100% of fair market value, up to
 Line from                                                                           any applicable statutory limit
 Schedule A/B:        31




Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                      page 2 of 2
                                  Case 20-33930 Document 1 Filed in TXSB on 08/03/20 Page 22 of 55

 Fill in this information to identify your case:

  Debtor 1                       Rolando                 A                     Sierra Maldonado
                                 First Name              Middle Name          Last Name

  Debtor 2
  (Spouse, if filing)            First Name              Middle Name          Last Name

  United States Bankruptcy Court for the:                               Southern District of Texas

  Case number                                                                                                                                           ❑    Check if this is an
  (if known)                                                                                                                                                 amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
      ❑No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      ✔Yes. Fill in all of the information below.
      ❑
 Part 1: List All Secured Claims

 2.     List all secured claims. If a creditor has more than one secured claim, list the creditor separately for            Column A               Column B              Column C
        each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As much           Amount of claim        Value of collateral   Unsecured
        as possible, list the claims in alphabetical order according to the creditor’s name.                                Do not deduct the      that supports         portion
                                                                                                                            value of collateral.   this claim            If any
 2.1 BMW Financial Services                                  Describe the property that secures the claim:                          $28,366.00            $44,000.00                 $0.00
        Creditor's Name
                                                              2019 BMW X5
         Attn: Bankruptcy
         PO Box 3608
        Number          Street
                                                             As of the date you file, the claim is: Check all that apply.

         Dublin, OH 43016-0306                               ❑Contingent
        City                      State       ZIP Code       ❑Unliquidated
        Who owes the debt? Check one.                        ❑Disputed
        ✔ Debtor 1 only
        ❑                                                    Nature of lien. Check all that apply.
        ❑Debtor 2 only                                       ❑An agreement you made (such as mortgage or
        ❑Debtor 1 and Debtor 2 only                             secured car loan)
        ❑At least one of the debtors and another             ❑Statutory lien (such as tax lien, mechanic's lien)
        ❑Check if this claim relates to a                    ❑Judgment lien from a lawsuit
           community debt
                                                             ❑Other (including a right to offset)
        Date debt was incurred
        12/1/2018                                            Last 4 digits of account number 9            0   4    8

         Add the dollar value of your entries in Column A on this page. Write that number here:                                            $28,366.00




Official Form 106D                                             Schedule D: Creditors Who Have Claims Secured by Property                                                     page 1 of 2
                              Case 20-33930 Document 1 Filed in TXSB on 08/03/20 Page 23 of 55

 Debtor 1              Rolando             A                         Sierra Maldonado                                      Case number (if known)
                       First Name          Middle Name               Last Name


                                                                                                                   Column A               Column B              Column C
              Additional Page
                                                                                                                   Amount of claim        Value of collateral   Unsecured
  Part 1:     After listing any entries on this page, number them beginning with                                   Do not deduct the      that supports         portion
              2.3, followed by 2.4, and so forth.                                                                  value of collateral.   this claim            If any



 2.2 Gonzalez, Sara E.                              Describe the property that secures the claim:                         $740,000.00           $852,430.00                   $0.00
     Creditor's Name
                                                     2 Ivy Castle Ct Spring, TX 77382
      196 Spyglass Park Loop
     Number          Street
      Montgomery, TX 77316                          As of the date you file, the claim is: Check all that apply.
     City                     State   ZIP Code      ❑Contingent
     Who owes the debt? Check one.                  ❑Unliquidated
     ✔ Debtor 1 only
     ❑                                              ❑Disputed
     ❑Debtor 2 only                                 Nature of lien. Check all that apply.
     ❑Debtor 1 and Debtor 2 only                    ✔An agreement you made (such as mortgage or
                                                    ❑
     ❑At least one of the debtors and another          secured car loan)
     ❑Check if this claim relates to a              ❑Statutory lien (such as tax lien, mechanic's lien)
        community debt
                                                    ❑Judgment lien from a lawsuit
     Date debt was incurred                         ❑Other (including a right to offset)
                                                    Last 4 digits of account number




 2.3 Mercedes-Benz Financial Services               Describe the property that secures the claim:                          $13,108.00            $13,000.00              $108.00
     Creditor's Name
                                                     2016 Mercedes-Benz C300
      Attn: Bankruptcy
      PO Box 685
     Number          Street
                                                    As of the date you file, the claim is: Check all that apply.

      Roanoke, TX 76262                             ❑Contingent
     City                     State   ZIP Code      ❑Unliquidated
     Who owes the debt? Check one.                  ❑Disputed
     ✔ Debtor 1 only
     ❑                                              Nature of lien. Check all that apply.
     ❑Debtor 2 only                                 ❑An agreement you made (such as mortgage or
     ❑Debtor 1 and Debtor 2 only                       secured car loan)
     ❑At least one of the debtors and another       ❑Statutory lien (such as tax lien, mechanic's lien)
     ❑Check if this claim relates to a              ❑Judgment lien from a lawsuit
        community debt
                                                    ❑Other (including a right to offset)
     Date debt was incurred
     5/31/2016                                      Last 4 digits of account number 8            0   0    1




      Add the dollar value of your entries in Column A on this page. Write that number here:                                     $753,108.00
      If this is the last page of your form, add the dollar value totals from all pages. Write that number                       $781,474.00
      here:




Official Form 106D                         Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 2 of 2
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 Fill in this information to identify your case:

  Debtor 1                   Rolando               A                   Sierra Maldonado
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                        Southern District of Texas

  Case number                                                                                                                               ❑    Check if this is an
  (if known)                                                                                                                                     amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                          12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Hold Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. On the top of any additional pages, write your name and case number (if known).

 Part 1: List All of Your PRIORITY Unsecured Claims

  1. Do any creditors have priority unsecured claims against you?
     ❑ No. Go to Part 2.
     ✔ Yes.
     ❑
  2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
     identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
     possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
     Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                  Total       Priority          Nonpriority
                                                                                                                                  claim       amount            amount

2.1      IRS                                                                                                                        $6,997.00       $6,997.00              $0.00
                                                                    Last 4 digits of account number
        Priority Creditor's Name
                                                                    When was the debt incurred?
         Po Box 7346
        Number           Street
                                                                    As of the date you file, the claim is: Check all that
                                                                    apply.
         Philadelphia, PA 19101-7346
                                                                    ❑ Contingent
                                                                    ❑ Unliquidated
        City                               State   ZIP Code
        Who incurred the debt? Check one.
        ✔ Debtor 1 only                                             ❑ Disputed
        ❑
        ❑ Debtor 2 only                                             Type of PRIORITY unsecured claim:
        ❑ Debtor 1 and Debtor 2 only                                ❑ Domestic support obligations
                                                                    ✔ Taxes and certain other debts you owe the
                                                                    ❑
        ❑ At least one of the debtors and another
        ❑ Check if this claim is for a community debt
                                                                        government
                                                                    ❑ Claims for death or personal injury while you were
        Is the claim subject to offset?                                 intoxicated
        ✔ No
        ❑                                                           ❑ Other. Specify
        ❑ Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 6
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 Debtor 1              Rolando                A                         Sierra Maldonado                                   Case number (if known)
                       First Name              Middle Name              Last Name

 Part 2: List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
      ❑     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      ✔
      ❑     Yes.
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
     unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
     than one creditor holds a particular claim, list the other creditors in Part 3. If you have more than three nonpriority unsecured claims fill out the Continuation Page of
     Part 2.
                                                                                                                                                             Total claim

4.2     BMW Financial Services                                                    Last 4 digits of account number 3296                                                     $597.00
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?          07/01/2017
        Attn: Bankruptcy
                                                                                  As of the date you file, the claim is: Check all that apply.
        PO Box 3608                                                               ❑ Contingent
                                                                                  ❑ Unliquidated
        Number           Street

                                                                                  ❑ Disputed
        Dublin, OH 43016-0306
        City                              State     ZIP Code
        Who incurred the debt? Check one.                                         Type of NONPRIORITY unsecured claim:
        ❑ Debtor 1 only                                                           ❑ Student loans
        ❑ Debtor 2 only                                                           ❑ Obligations arising out of a separation agreement or
        ❑
                                                                                      divorce that you did not report as priority claims
          Debtor 1 and Debtor 2 only
                                                                                  ❑ Debts to pension or profit-sharing plans, and other
        ✔
        ❑ At least one of the debtors and another                                     similar debts
        ❑ Check if this claim is for a community debt                             ✔ Other. Specify
                                                                                  ❑
        Is the claim subject to offset?                                               Lease
        ✔ No
        ❑
        ❑ Yes
4.2     BMW Financial Services                                                    Last 4 digits of account number 5111                                                       $0.00
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?          09/01/2014
        Attn: Bankruptcy
                                                                                  As of the date you file, the claim is: Check all that apply.
        PO Box 3608                                                               ❑ Contingent
                                                                                  ❑ Unliquidated
        Number           Street

                                                                                  ❑ Disputed
        Dublin, OH 43016-0306
        City                              State     ZIP Code
        Who incurred the debt? Check one.                                         Type of NONPRIORITY unsecured claim:
        ✔ Debtor 1 only
        ❑                                                                         ❑ Student loans
        ❑ Debtor 2 only                                                           ❑ Obligations arising out of a separation agreement or
        ❑ Debtor 1 and Debtor 2 only
                                                                                      divorce that you did not report as priority claims
                                                                                  ❑ Debts to pension or profit-sharing plans, and other
        ❑ At least one of the debtors and another                                     similar debts
        ❑ Check if this claim is for a community debt                             ❑ Other. Specify
        Is the claim subject to offset?
        ✔ No
        ❑
        ❑ Yes
4.3     BMW Financial Services                                                    Last 4 digits of account number 4478                                                     $536.00
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?          07/01/2017
        Attn: Bankruptcy
                                                                                  As of the date you file, the claim is: Check all that apply.
        PO Box 3608                                                               ❑ Contingent
                                                                                  ❑ Unliquidated
        Number           Street

                                                                                  ❑ Disputed
        Dublin, OH 43016-0306
        City                              State     ZIP Code
        Who incurred the debt? Check one.                                         Type of NONPRIORITY unsecured claim:
        ❑ Debtor 1 only                                                           ❑ Student loans
        ❑ Debtor 2 only                                                           ❑ Obligations arising out of a separation agreement or
        ❑ Debtor 1 and Debtor 2 only
                                                                                      divorce that you did not report as priority claims
                                                                                  ❑ Debts to pension or profit-sharing plans, and other
        ✔ At least one of the debtors and another
        ❑                                                                             similar debts
        ❑ Check if this claim is for a community debt                             ✔ Other. Specify
                                                                                  ❑
        Is the claim subject to offset?                                               Lease
        ✔ No
        ❑
        ❑ Yes
Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                          page 2 of 6
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 Debtor 1              Rolando               A                      Sierra Maldonado                                 Case number (if known)
                       First Name             Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim


4.4     BMW Financial Services                                              Last 4 digits of account number 5383                                              $0.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          06/01/2016
        Attn: Bankruptcy
                                                                            As of the date you file, the claim is: Check all that apply.
        PO Box 3608
       Number           Street
                                                                            ❑   Contingent

        Dublin, OH 43016-0306
                                                                            ❑   Unliquidated
       City                              State     ZIP Code                 ❑   Disputed
       Who incurred the debt? Check one.                                    Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                 ❑   Student loans
       ❑      Debtor 2 only                                                 ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                                divorce that you did not report as priority claims
                                                                            ❑
       ❑      At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       ❑      Check if this claim is for a community debt                   ✔
                                                                            ❑   Other. Specify
       Is the claim subject to offset?                                          Lease
       ✔
       ❑      No
       ❑      Yes
4.5     BMW Financial Services                                              Last 4 digits of account number 5064                                              $0.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          12/01/2014
        Attn: Bankruptcy
                                                                            As of the date you file, the claim is: Check all that apply.
        PO Box 3608
       Number           Street
                                                                            ❑   Contingent

        Dublin, OH 43016-0306
                                                                            ❑   Unliquidated
       City                              State     ZIP Code                 ❑   Disputed
       Who incurred the debt? Check one.                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 1 only                                                 ❑   Student loans
       ❑      Debtor 2 only                                                 ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                                divorce that you did not report as priority claims

       ✔                                                                    ❑
       ❑      At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       ❑      Check if this claim is for a community debt                   ✔
                                                                            ❑   Other. Specify
       Is the claim subject to offset?                                          Lease
       ✔
       ❑      No
       ❑      Yes
4.6     Capital One                                                         Last 4 digits of account number 7046                                        $5,311.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          12/01/2012
        Attn: General Correspondence/Bankruptcy
                                                                            As of the date you file, the claim is: Check all that apply.
        PO Box 30285
       Number           Street
                                                                            ❑   Contingent

        Salt Lake City, UT 84130-0287
                                                                            ❑   Unliquidated
       City                              State     ZIP Code                 ❑   Disputed
       Who incurred the debt? Check one.                                    Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                 ❑   Student loans
       ❑      Debtor 2 only                                                 ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                                divorce that you did not report as priority claims
                                                                            ❑
       ❑      At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       ❑      Check if this claim is for a community debt                   ✔
                                                                            ❑   Other. Specify
       Is the claim subject to offset?                                          CreditCard
       ✔
       ❑      No
       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                             page 3 of 6
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 Debtor 1              Rolando               A                      Sierra Maldonado                                 Case number (if known)
                       First Name             Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim


4.7     Chase Card Services                                                 Last 4 digits of account number 0928                                       $27,942.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          07/01/2013
        Attn: Correspondence Dept
                                                                            As of the date you file, the claim is: Check all that apply.
        PO Box 15298
       Number           Street
                                                                            ❑   Contingent

        Wilmington, DE 19850-5298
                                                                            ❑   Unliquidated
       City                              State     ZIP Code                 ❑   Disputed
       Who incurred the debt? Check one.                                    Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                 ❑   Student loans
       ❑      Debtor 2 only                                                 ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                                divorce that you did not report as priority claims
                                                                            ❑
       ❑      At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       ❑      Check if this claim is for a community debt                   ✔
                                                                            ❑   Other. Specify
       Is the claim subject to offset?                                          CreditCard
       ✔
       ❑      No
       ❑      Yes
4.8     Synchrony Bank/Banana Republic                                      Last 4 digits of account number 5457                                              $0.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          05/09/2016
        Attn: Bankruptcy Dept
                                                                            As of the date you file, the claim is: Check all that apply.
        PO Box 965060
       Number           Street
                                                                            ❑   Contingent

        Orlando, FL 32896-5060
                                                                            ❑   Unliquidated
       City                              State     ZIP Code                 ❑   Disputed
       Who incurred the debt? Check one.                                    Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                 ❑   Student loans
       ❑      Debtor 2 only                                                 ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                                divorce that you did not report as priority claims
                                                                            ❑
       ❑      At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       ❑      Check if this claim is for a community debt                   ✔
                                                                            ❑   Other. Specify
       Is the claim subject to offset?                                          CreditCard
       ✔
       ❑      No
       ❑      Yes
4.9     Synchrony Bank/Banana Republic                                      Last 4 digits of account number 2749                                              $0.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          08/12/2013
        Attn: Bankruptcy Dept
                                                                            As of the date you file, the claim is: Check all that apply.
        PO Box 965060
       Number           Street
                                                                            ❑   Contingent

        Orlando, FL 32896-5060
                                                                            ❑   Unliquidated
       City                              State     ZIP Code                 ❑   Disputed
       Who incurred the debt? Check one.                                    Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                 ❑   Student loans
       ❑      Debtor 2 only                                                 ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                                divorce that you did not report as priority claims
                                                                            ❑
       ❑      At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       ❑      Check if this claim is for a community debt                   ✔
                                                                            ❑   Other. Specify
       Is the claim subject to offset?                                          CreditCard
       ✔
       ❑      No
       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                             page 4 of 6
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 Debtor 1              Rolando               A                      Sierra Maldonado                                 Case number (if known)
                       First Name             Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim


4.10    Synchrony Bank/Banana Republic                                      Last 4 digits of account number 3719                                              $0.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          08/12/2013
        Attn: Bankruptcy Dept
                                                                            As of the date you file, the claim is: Check all that apply.
        PO Box 965060
       Number           Street
                                                                            ❑   Contingent

        Orlando, FL 32896-5060
                                                                            ❑   Unliquidated
       City                              State     ZIP Code                 ❑   Disputed
       Who incurred the debt? Check one.                                    Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                 ❑   Student loans
       ❑      Debtor 2 only                                                 ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                                divorce that you did not report as priority claims
                                                                            ❑
       ❑      At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       ❑      Check if this claim is for a community debt                   ✔
                                                                            ❑   Other. Specify
       Is the claim subject to offset?                                          CreditCard
       ✔
       ❑      No
       ❑      Yes
4.11    Synchrony Bank/Banana Republic                                      Last 4 digits of account number 7980                                              $0.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          08/12/2013
        Attn: Bankruptcy Dept
                                                                            As of the date you file, the claim is: Check all that apply.
        PO Box 965060
       Number           Street
                                                                            ❑   Contingent

        Orlando, FL 32896-5060
                                                                            ❑   Unliquidated
       City                              State     ZIP Code                 ❑   Disputed
       Who incurred the debt? Check one.                                    Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                 ❑   Student loans
       ❑      Debtor 2 only                                                 ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                                divorce that you did not report as priority claims
                                                                            ❑
       ❑      At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       ❑      Check if this claim is for a community debt                   ✔
                                                                            ❑   Other. Specify
       Is the claim subject to offset?                                          CreditCard
       ✔
       ❑      No
       ❑      Yes
4.12    TD Retail Card/Renovate Card                                        Last 4 digits of account number 7839                                              $0.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          11/01/2017
        Attn: Bankruptcy
                                                                            As of the date you file, the claim is: Check all that apply.
        1000 MacArthue Blvd
       Number           Street
                                                                            ❑   Contingent

        Mahwah, NJ 07430
                                                                            ❑   Unliquidated
       City                              State     ZIP Code                 ❑   Disputed
       Who incurred the debt? Check one.                                    Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                 ❑   Student loans
       ❑      Debtor 2 only                                                 ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                                divorce that you did not report as priority claims
                                                                            ❑
       ❑      At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       ❑      Check if this claim is for a community debt                   ✔
                                                                            ❑   Other. Specify
       Is the claim subject to offset?                                          ChargeAccount
       ✔
       ❑      No
       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                             page 5 of 6
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 Debtor 1              Rolando              A                      Sierra Maldonado                            Case number (if known)
                       First Name           Middle Name             Last Name

 Part 4: Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
     type of unsecured claim.




                                                                                            Total claim


                   6a. Domestic support obligations                               6a.                              $0.00
 Total claims
 from Part 1       6b. Taxes and certain other debts you owe the                  6b.                          $6,997.00
                       government

                   6c. Claims for death or personal injury while you              6c.                              $0.00
                       were intoxicated

                   6d. Other. Add all other priority unsecured claims.            6d.   +                          $0.00
                       Write that amount here.

                   6e. Total. Add lines 6a through 6d.                            6e.                           $6,997.00




                                                                                            Total claim


                   6f. Student loans                                              6f.                              $0.00
 Total claims
 from Part 2       6g. Obligations arising out of a separation                    6g.                              $0.00
                       agreement or divorce that you did not report as
                       priority claims

                   6h. Debts to pension or profit-sharing plans, and              6h.                              $0.00
                       other similar debts

                   6i. Other. Add all other nonpriority unsecured claims.         6i.   +                     $34,386.00
                       Write that amount here.

                   6j. Total. Add lines 6f through 6i.                            6j.                          $34,386.00




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page 6 of 6
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 Fill in this information to identify your case:

     Debtor 1                   Rolando              A                  Sierra Maldonado
                                First Name           Middle Name        Last Name

     Debtor 2
     (Spouse, if filing)        First Name           Middle Name        Last Name

     United States Bankruptcy Court for the:                       Southern District of Texas

     Case number                                                                                                                             ❑    Check if this is an
     (if known)                                                                                                                                   amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and case number (if
known).

 1.     Do you have any executory contracts or unexpired leases?
        ✔No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ❑
        ❑Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example, rent,
       vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired leases.



       Person or company with whom you have the contract or lease                               State what the contract or lease is for

2.1

        Name

        Number         Street

        City                                 State   ZIP Code

2.2

        Name

        Number         Street

        City                                 State   ZIP Code

2.3

        Name

        Number         Street

        City                                 State   ZIP Code

2.4

        Name

        Number         Street

        City                                 State   ZIP Code




Official Form 106G                                              Schedule G: Executory Contracts and Unexpired Leases                                                    page 1 of 1
                                  Case 20-33930 Document 1 Filed in TXSB on 08/03/20 Page 31 of 55

 Fill in this information to identify your case:

  Debtor 1                        Rolando                 A                   Sierra Maldonado
                                 First Name              Middle Name         Last Name

  Debtor 2
  (Spouse, if filing)            First Name              Middle Name         Last Name

  United States Bankruptcy Court for the:                                Southern District of Texas

  Case number                                                                                                                                ❑     Check if this is an
  (if known)                                                                                                                                       amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                                                   12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are filing together,
both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number the entries in the boxes on
the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      ✔ No
      ❑
      ❑Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona, California, Idaho,
    Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      ✔No. Go to line 3.
      ❑
      ❑Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
        ❑No
        ❑Yes. In which community state or territory did you live?                                        . Fill in the name and current address of that person.


               Name

               Number          Street

               City                                   State   ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line 2 again as a
    codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D), Schedule E/F (Official
    Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

      Column 1: Your codebtor                                                                                  Column 2: The creditor to whom you owe the debt
                                                                                                                 Check all schedules that apply:
3.1                                                                                                              ❑Schedule D, line
      Name
                                                                                                                 ❑Schedule E/F, line
      Number          Street                                                                                     ❑Schedule G, line
      City                                    State     ZIP Code




Official Form 106H                                                                Schedule H: Your Codebtors                                                             page 1 of 1
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 Fill in this information to identify your case:

  Debtor 1                   Rolando               A                  Sierra Maldonado
                             First Name            Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name       Last Name

  United States Bankruptcy Court for the:                        Southern District of Texas

  Case number                                                                                                                          ❑    Check if this is an
  (if known)                                                                                                                                amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                                12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑Yes. Name of person                                                              . Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature
                                                                                       (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and correct.




   ✘ /s/ Rolando A Sierra Maldonado
        Rolando A Sierra Maldonado, Debtor 1


        Date 08/03/2020
                MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
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 Fill in this information to identify your case:

  Debtor 1                   Rolando               A                   Sierra Maldonado
                             First Name            Middle Name         Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name         Last Name

  United States Bankruptcy Court for the:                         Southern District of Texas

  Case number                                                                                                                           ❑   Check if this is an
  (if known)                                                                                                                                amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                              04/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ❑ Married
    ✔ Not married
    ❑
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ✔ No
    ❑
    ❑ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
      Debtor 1:                                                Dates Debtor 1 lived      Debtor 2:                                            Dates Debtor 2 lived
                                                               there                                                                          there


                                                                                       ❑ Same as Debtor 1                                    ❑ Same as Debtor 1
                                                             From                                                                           From
    Number      Street                                                                     Number     Street
                                                             To                                                                             To



    City                               State ZIP Code                                      City                        State ZIP Code




                                                                                       ❑ Same as Debtor 1                                    ❑ Same as Debtor 1
                                                             From                                                                           From
    Number      Street                                                                     Number     Street
                                                             To                                                                             To



    City                               State ZIP Code                                      City                        State ZIP Code




  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and territories
  include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ✔ No
    ❑
    ❑ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 1
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Debtor 1            Rolando              A                        Sierra Maldonado                                    Case number (if known)
                    First Name           Middle Name              Last Name
 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                    Debtor 1                                                    Debtor 2

                                                    Sources of income             Gross Income                  Sources of income             Gross Income
                                                    Check all that apply.         (before deductions and        Check all that apply.         (before deductions and
                                                                                  exclusions)                                                 exclusions)


    From January 1 of current year until the
                                                   ✔ Wages, commissions,
                                                   ❑                                                           ❑ Wages, commissions,
                                                       bonuses, tips                         $15,766.60            bonuses, tips
    date you filed for bankruptcy:
                                                   ✔ Operating a business
                                                   ❑                                         $10,140.67        ❑Operating a business

    For last calendar year:                        ✔ Wages, commissions,
                                                   ❑                                                           ❑ Wages, commissions,
                                                       bonuses, tips                        $104,187.77            bonuses, tips
    (January 1 to December 31, 2019          )
                                     YYYY          ❑Operating a business                                       ❑Operating a business

    For the calendar year before that:             ✔ Wages, commissions,
                                                   ❑                                                           ❑ Wages, commissions,
                                                       bonuses, tips                         $83,409.00            bonuses, tips
    (January 1 to December 31, 2018          )
                                     YYYY          ✔ Operating a business
                                                   ❑                                         $73,497.00        ❑Operating a business


  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other public benefit
  payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are filing a joint case and you
  have income that you received together, list it only once under Debtor 1.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                    Debtor 1                                                    Debtor 2

                                                    Sources of income             Gross income from each        Sources of income             Gross Income from each
                                                    Describe below.               source                        Describe below.               source
                                                                                  (before deductions and                                      (before deductions and
                                                                                  exclusions)                                                 exclusions)


    From January 1 of current year until the
    date you filed for bankruptcy:




    For last calendar year:
    (January 1 to December 31, 2019          )
                                     YYYY




    For the calendar year before that:
    (January 1 to December 31, 2018          )
                                     YYYY




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                               page 2
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Debtor 1            Rolando                  A                        Sierra Maldonado                                    Case number (if known)
                    First Name                   Middle Name              Last Name
 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ❑No.       Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
               individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

               ❑No. Go to line 7.
               ❑Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you paid that
                          creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                          payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.


    ✔Yes.
    ❑          Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               ✔No. Go to line 7.
               ❑
               ❑Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
                          payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                          this bankruptcy case.

                                                                  Dates of              Total amount paid        Amount you still owe          Was this payment for…
                                                                  payment

                                                                                                                                             ❑Mortgage
             Creditor's Name                                                                                                                 ❑Car
                                                                                                                                             ❑Credit card
             Number      Street                                                                                                              ❑Loan repayment
                                                                                                                                             ❑Suppliers or vendors
                                                                                                                                             ❑Other
             City                        State      ZIP Code




  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an
  officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you operate as a sole
  proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑Yes. List all payments to an insider.
                                                               Dates of               Total amount paid   Amount you still owe       Reason for this payment
                                                               payment



    Insider's Name


    Number      Street




    City                         State      ZIP Code




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Debtor 1            Rolando                A                       Sierra Maldonado                                     Case number (if known)
                    First Name              Middle Name               Last Name



  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑Yes. List all payments that benefited an insider.
                                                           Dates of               Total amount paid    Amount you still owe       Reason for this payment
                                                           payment                                                                Include creditor’s name



    Insider's Name


    Number       Street




    City                         State     ZIP Code




 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and contract
  disputes.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                      Nature of the case                         Court or agency                                  Status of the case

    Case title                                                                                                                                   ❑Pending
                                                                                                Court Name                                       ❑On appeal
                                                                                                                                                 ❑Concluded
                                                                                                Number       Street
    Case number

                                                                                                City                      State       ZIP Code




  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ✔No. Go to line 11.
    ❑
    ❑Yes. Fill in the information below.
                                                                       Describe the property                                   Date                 Value of the property



    Creditor’s Name


    Number       Street                                               Explain what happened

                                                                      ❑Property was repossessed.
                                                                      ❑Property was foreclosed.
                                                                      ❑Property was garnished.
    City                           State    ZIP Code                  ❑Property was attached, seized, or levied.

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Debtor 1            Rolando                A                      Sierra Maldonado                                 Case number (if known)
                    First Name             Middle Name             Last Name



  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or refuse
  to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                           Describe the action the creditor took                        Date action was     Amount
                                                                                                                        taken
    Creditor’s Name


    Number      Street



    City                         State     ZIP Code
                                                          Last 4 digits of account number: XXXX–




  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-appointed
  receiver, a custodian, or another official?

    ✔ No
    ❑
    ❑Yes

 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑Yes. Fill in the details for each gift.
     Gifts with a total value of more than $600 per        Describe the gifts                                          Dates you gave       Value
     person                                                                                                            the gifts



    Person to Whom You Gave the Gift




    Number      Street



    City                           State   ZIP Code

    Person’s relationship to you



  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ✔ No
    ❑
    ❑Yes. Fill in the details for each gift or contribution.




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 5
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Debtor 1             Rolando            A                         Sierra Maldonado                               Case number (if known)
                     First Name          Middle Name              Last Name

     Gifts or contributions to charities that     Describe what you contributed                                 Date you               Value
     total more than $600                                                                                       contributed



    Charity’s Name




    Number     Street



    City                    State   ZIP Code




 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or gambling?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
     Describe the property you lost and         Describe any insurance coverage for the loss                   Date of your loss       Value of property lost
     how the loss occurred                     Include the amount that insurance has paid. List pending
                                               insurance claims on line 33 of Schedule A/B: Property.




 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted about
  seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ❑No
    ✔Yes. Fill in the details.
    ❑
                                                  Description and value of any property transferred             Date payment or        Amount of payment
     Guerra Days Law Group, PLLC                                                                                transfer was made
    Person Who Was Paid                          Attorney’s Fee
                                                                                                               08/03/2020                           $3,500.00
     2929 Mossrock, Ste. 111
    Number     Street




     San Antonio, TX 78230
    City                    State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 6
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Debtor 1            Rolando             A                       Sierra Maldonado                                  Case number (if known)
                    First Name          Middle Name             Last Name



  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to help you
  deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                               Description and value of any property transferred                Date payment or         Amount of payment
                                                                                                                transfer was made
    Person Who Was Paid



    Number     Street




    City                   State   ZIP Code




  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                Description and value of property           Describe any property or payments received       Date transfer was
                                                transferred                                 or debts paid in exchange                        made

    Person Who Received Transfer


    Number     Street




    City                   State   ZIP Code

    Person's relationship to you




  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?(These are
  often called asset-protection devices.)

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                               Description and value of the property transferred                                             Date transfer was
                                                                                                                                             made


    Name of trust




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 7
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Debtor 1            Rolando              A                     Sierra Maldonado                                  Case number (if known)
                    First Name           Middle Name            Last Name
 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved, or
  transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension funds,
  cooperatives, associations, and other financial institutions.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                Last 4 digits of account number          Type of account or        Date account was           Last balance
                                                                                         instrument                closed, sold, moved, or    before closing or
                                                                                                                   transferred                transfer

    Name of Financial Institution
                                                XXXX–                                    ❑Checking
                                                                                         ❑Savings
    Number      Street
                                                                                         ❑Money market
                                                                                         ❑Brokerage
                                                                                         ❑Other
    City                   State    ZIP Code




  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                 Who else had access to it?                     Describe the contents                          Do you still have
                                                                                                                                               it?

                                                                                                                                             ❑No
    Name of Financial Institution               Name
                                                                                                                                             ❑Yes

    Number      Street                          Number     Street



                                                City                  State   ZIP Code

    City                   State    ZIP Code



  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                 Who else has or had access to it?              Describe the contents                          Do you still have
                                                                                                                                               it?

                                                                                                                                             ❑No
    Name of Storage Facility                    Name
                                                                                                                                             ❑Yes

    Number      Street                          Number     Street



                                                City                  State   ZIP Code

    City                   State    ZIP Code



Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                              page 8
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Debtor 1            Rolando               A                        Sierra Maldonado                                      Case number (if known)
                    First Name            Middle Name               Last Name
 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                    Where is the property?                              Describe the property                            Value


    Owner's Name
                                                   Number      Street


    Number     Street

                                                   City                        State   ZIP Code


    City                   State   ZIP Code




 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic substances, wastes,
      or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the cleanup of these substances,
      wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate, or utilize it,
      including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant,
      contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                   Governmental unit                              Environmental law, if you know it                      Date of notice


    Name of site                                  Governmental unit



    Number     Street                             Number      Street


                                                  City                 State     ZIP Code


    City                   State   ZIP Code




  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑Yes. Fill in the details.




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Debtor 1             Rolando                A                         Sierra Maldonado                                     Case number (if known)
                     First Name             Middle Name               Last Name

                                                     Governmental unit                           Environmental law, if you know it                      Date of notice


    Name of site                                    Governmental unit



    Number        Street                            Number       Street


                                                    City                  State   ZIP Code


    City                     State    ZIP Code




  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                     Court or agency                             Nature of the case                                     Status of the case


    Case title
                                                    Court Name
                                                                                                                                                    ❑Pending
                                                                                                                                                    ❑On appeal
                                                                                                                                                    ❑Concluded
                                                    Number       Street


    Case number
                                                    City                  State   ZIP Code




 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ✔ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑
           ❑ A partner in a partnership
           ✔ An officer, director, or managing executive of a corporation
           ❑
           ❑ An owner of at least 5% of the voting or equity securities of a corporation
    ❑No. None of the above applies. Go to Part 12.
    ✔Yes. Check all that apply above and fill in the details below for each business.
    ❑
                                                      Describe the nature of the business                          Employer Identification number
     SIKA Holdings, LLC                                                                                            Do not include Social Security number or ITIN.
    Name
                                                     Consulting
                                                                                                                    EIN:   8   1 – 0    7   8   3   8    9   4
     PO Box 131263
    Number        Street
                                                      Name of accountant or bookkeeper                             Dates business existed
                                                     Matos & Jawad, PLLC
                                                                                                                    From 12/09/2015      To 12/31/2019
     Spring, TX 77393
    City                     State    ZIP Code




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Debtor 1            Rolando             A                        Sierra Maldonado                                Case number (if known)
                    First Name          Middle Name              Last Name

                                                 Describe the nature of the business                     Employer Identification number
     SIKA Trading LLC                                                                                    Do not include Social Security number or ITIN.
    Name
                                                Consulting/Textiles
                                                                                                          EIN:    4   6 – 1     7   0   2   7   7   6
     PO Box 131263
    Number      Street
                                                 Name of accountant or bookkeeper                        Dates business existed
                                                Matos & Jawad PLLC
                                                                                                          From 12/28/12          To Current
     Spring, TX 77393
    City                   State   ZIP Code

                                                 Describe the nature of the business                     Employer Identification number
     BLAUTech LLC                                                                                        Do not include Social Security number or ITIN.
    Name
                                                Consulting/PPE
                                                                                                          EIN:    8   1 – 4     2   4   4   7   6   7
     2 Ivy Castle Ct
    Number      Street
                                                 Name of accountant or bookkeeper                        Dates business existed
                                                Matos & Jawad LLC
                                                                                                          From 10/24/2016        To Current
     Spring, TX 77382
    City                   State   ZIP Code




  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions, creditors,
  or other parties.

    ✔ No
    ❑
    ❑Yes. Fill in the details below.
                                                 Date issued



    Name                                        MM / DD / YYYY



    Number      Street




    City                   State   ZIP Code




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 11
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Debtor 1           Rolando              A                      Sierra Maldonado                                Case number (if known)
                   First Name           Middle Name             Last Name




Part 12: Sign Below


 I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true and
 correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case
 can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




   ✘ /s/ Rolando A Sierra Maldonado
       Signature of Rolando A Sierra Maldonado, Debtor 1


       Date 08/03/2020




 Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

   ✔ No
   ❑
   ❑Yes
 Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
                                                                                                     Attach the Bankruptcy Petition Preparer’s Notice,
   ❑Yes. Name of person                                                                              Declaration, and Signature (Official Form 119).
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B2030 (Form 2030)(12/15)


                                                    United States Bankruptcy Court
                                                                    Southern District of Texas

In re
Sierra Maldonado, Rolando A                                                                                             Case No.
Debtor(s)                                                                                                               Chapter         13


                                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services
     rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
            For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . .                            $3,500.00
            Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . .                              $3,500.00
            Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 $0.00

2.   The source of the compensation to be paid to me was:
            ✔ Debtor
            ❑                                          ❑ Other (specify)
3.   The source of compensation to be paid to me is:
            ✔ Debtor
            ❑                                          ❑ Other (specify)
4.   ✔
     ❑   I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates
     of my law firm.

     ❑   I have agreed to share the above-disclosed compensation with another person or persons who are not members or associates
     of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.   In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
     a.   Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
          bankruptcy;
     b.   Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
     c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                                             CERTIFICATION

                           I certify that the foregoing is a complete statement of any agreement or arrangement for
                         payment to me for representation of the debtor(s) in this bankruptcy proceeding.

                         08/03/2020                                       /s/ Ricardo Guerra
                         Date                                                  Signature of Attorney
                                                                                                                           Ricardo Guerra
                                                                                                                   Bar Number: 24074331
                                                                                                            Guerra Days Law Group, PLLC
                                                                                                                  2929 Mossrock, Ste. 111
                                                                                                                    San Antonio, TX 78230
                                                                                                                    Phone: (210) 446-0102

                                                                          Guerra Days Law Group, PLLC
                                                                             Name of law firm
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 Fill in this information to identify your case:                                                                          Check as directed in lines 17 and 21:
                                                                                                                          According to the calculations required by this
  Debtor 1                   Rolando                A                  Sierra Maldonado                                   Statement:
                             First Name            Middle Name         Last Name
                                                                                                                          ✔1. Disposable income is not determined
                                                                                                                          ❑
  Debtor 2                                                                                                                   under 11 U.S.C. § 1325(b)(3).
  (Spouse, if filing)        First Name            Middle Name         Last Name                                          ❑2. Disposable income is determined
                                                                                                                             under 11 U.S.C. § 1325(b)(3).
  United States Bankruptcy Court for the:                        Southern District of Texas
                                                                                                                          ✔3. The commitment period is 3 years.
                                                                                                                          ❑
  Case number
  (if known)                                                                                                              ❑4. The commitment period is 5 years.
                                                                                                                          ❑Check if this is an amended filing

Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                                                  04/20
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed, attach a
separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
number (if known).



 Part 1: Calculate Your Average Monthly Income

 1.   What is your marital and filing status? Check one only.
      ✔ Not married. Fill out Column A, lines 2-11.
      ❑
      ❑ Married. Fill out both Columns A and B, lines 2-11.
  Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case.11 U.S.C. §
  101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during the
  6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both spouses own
  the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                               Column A               Column B
                                                                                                               Debtor 1               Debtor 2 or
                                                                                                                                      non-filing spouse

 2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all                                   $2,627.77
    payroll deductions).

 3. Alimony and maintenance payments. Do not include payments from a spouse.                                              $0.00

 4. All amounts from any source which are regularly paid for household expenses of you or your
    dependents, including child support. Include regular contributions from an unmarried partner,
    members of your household, your dependents, parents, and roommates. Do not include payments
    from a spouse. Do not include payments you listed on line 3.                                                          $0.00


 5. Net income from operating a business, profession, or
    farm                                                                Debtor 1          Debtor 2
                                                                         $10,875.11           $0.00
      Gross receipts (before all deductions)

      Ordinary and necessary operating expenses
                                                                   -     $9,185.00    -       $0.00

                                                                         $1,690.11            $0.00   Copy
      Net monthly income from a business, profession, or farm                                                         $1,690.11
                                                                                                      here →


 6. Net income from rental and other real property                      Debtor 1          Debtor 2
                                                                             $0.00            $0.00
      Gross receipts (before all deductions)

      Ordinary and necessary operating expenses
                                                                   -         $0.00    -       $0.00

                                                                             $0.00            $0.00   Copy
      Net monthly income from rental or other real property                                                               $0.00
                                                                                                      here →



 Official Form 122C-1                          Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                page 1
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Debtor 1                     Rolando                            A                                         Sierra Maldonado                       Case number (if known)
                             First Name                          Middle Name                              Last Name
                                                                                                                                     Column A               Column B
                                                                                                                                     Debtor 1               Debtor 2 or
                                                                                                                                                            non-filing spouse
 7. Interest, dividends, and royalties                                                                                                            $0.00

 8. Unemployment compensation                                                                                                                     $0.00
    Do not enter the amount if you contend that the amount received was a benefit under the Social
    Security Act. Instead, list it here: ..................................................                ↓
           For you....................................................................................                       $0.00
           For your spouse......................................................................

 9. Pension or retirement income. Do not include any amount received that was a benefit under                                                     $0.00
    the Social Security Act. Also, except as stated in the next sentence, do not include any
    compensation, pension, pay, annuity, or allowance paid by the United States Government in
    connection with a disability, combat-related injury or disability, or death of a member of the
    uniformed services. If you received any retired pay paid under chapter 61 of title 10, then
    include that pay only to the extent that it does not exceed the amount of retired pay to which you
    would otherwise be entitled if retired under any provision of title 10 other than chapter 61 of that
    title.

10. Income from all other sources not listed above. Specify the source and amount. Do not
    include any benefits received under the Social Security Act; payments made under the
    Federal law relating to the national emergency declared by the President under the National
    Emergencies Act (50 U.S.C. 1601 et seq.) with respect to the coronavirus disease 2019
    (COVID-19); payments received as a victim of a war crime, a crime against humanity, or
    international or domestic terrorism; or compensation, pension, pay, annuity, or allowance paid
    by the United States Government in connection with a disability, combat-related injury or
    disability, or death of a member of the uniformed services. If necessary, list other sources on
    a separate page and put the total below.




    Total amounts from separate pages, if any.                                                                                       +                       +
                                                                                                                                             $4,317.88                              =       $4,317.88
 11. Calculate your total average monthly income. Add lines 2 through 10 for each                                                                            +
     column. Then add the total for Column A to the total for Column B.
                                                                                                                                                                                        Total average
                                                                                                                                                                                        monthly income

Part 2: Determine How to Measure Your Deductions from Income

12. Copy your total average monthly income from line 11. .................................................................................                                                    $4,317.88

13. Calculate the marital adjustment. Check one:

   ✔You are not married. Fill in 0 below.
   ❑
   ❑You are married and your spouse is filing with you. Fill in 0 below.
   ❑You are married and your spouse is not filing with you.
       Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your
       dependents, such as payment of the spouse’s tax liability or the spouse’s support of someone other than you or your dependents.
       Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list additional
       adjustments on a separate page.
       If this adjustment does not apply, enter 0 below.




                                                                                                                                +

       Total...........................................................................................                                  $0.00
                                                                                                                                                    Copy here. →
                                                                                                                                                                                -              $0.00

14. Your current monthly income. Subtract the total in line 13 from line 12.                                                                                                                 $4,317.88




Official Form 122C-1                                           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                          page 2
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Debtor 1                     Rolando                           A                                     Sierra Maldonado                                                              Case number (if known)
                             First Name                         Middle Name                           Last Name

15. Calculate your current monthly income for the year. Follow these steps:

        15a. Copy line 14 here →...............................................................................................................................................................                          $4,317.88

               Multiply line 15a by 12 (the number of months in a year).                                                                                                                                         x 12
                                                                                                                                                                                                                    $51,814.56
        15b. The result is your current monthly income for the year for this part of the form.....................................................................

16. Calculate the median family income that applies to you. Follow these steps:
        16a. Fill in the state in which you live.                                                                                      Texas
        16b. Fill in the number of people in your household.                                                                              2

        16c. Fill in the median family income for your state and size of household. ....................................................................................                                                $66,899.00
               To find a list of applicable median income amounts, go online using the link specified in the separate
               instructions for this form. This list may also be available at the bankruptcy clerk’s office.

17. How do the lines compare?

        17a.     ✔
                 ❑      Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under 11 U.S.C. §
                        1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C–2).
        17b.     ❑      Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C. § 1325(b)(3). Go
                        to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C–2). On line 39 of that form, copy your current monthly income
                        from line 14 above.
Part 3: Calculate Your Commitment Period Under 11 U.S.C. §1325(b)(4)

18. Copy your total average monthly income from line 11. ..........................................................................................................                                                      $4,317.88
19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend that calculating the
    commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse’s income, copy the amount from line 13.
   19a. If the marital adjustment does not apply, fill in 0 on line 19a. .....................................................................................................                               -              $0.00
   19b. Subtract line 19a from line 18.                                                                                                                                                                                 $4,317.88

20. Calculate your current monthly income for the year. Follow these steps.

   20a. Copy line 19b.............................................................................................................................................................................                       $4,317.88
           Multiply by 12 (the number of months in a year).                                                                                                                                                 x 12
                                                                                                                                                                                                                    $51,814.56
   20b. The result is your current monthly income for the year for this part of the form.

                                                                                                                                                                                                                    $66,899.00
   20c. Copy the median family income for your state and size of household from line 16c. ...............................................................

21. How do the lines compare?
   ✔
   ❑     Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3,
         The commitment period is 3 years. Go to Part 4.
   ❑     Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
         check box 4, The commitment period is 5 years. Go to Part 4.

Part 4: Sign Below

    By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.


          ✘ /s/ Rolando A Sierra Maldonado
                 Signature of Debtor 1

                 Date 08/03/2020
                           MM/ DD/ YYYY

    If you checked 17a, do NOT fill out or file Form 122C–2.
    If you checked 17b, fill out Form 122C–2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.



Official Form 122C-1                                          Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                     page 3
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                                                     IN THE UNITED STATES BANKRUPTCY COURT
                                                           SOUTHERN DISTRICT OF TEXAS
                                                                 HOUSTON DIVISION

IN RE: Sierra Maldonado, Rolando A                                                           CASE NO

                                                                                             CHAPTER 13




                                                      VERIFICATION OF CREDITOR MATRIX

  The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date       08/03/2020              Signature                              /s/ Rolando A Sierra Maldonado
                                                                         Rolando A Sierra Maldonado, Debtor
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BMW Financial Services              Capital One                               Chase Card Services
Attn: Bankruptcy                    Attn: General Correspondence/Bankruptcy   Attn: Correspondence Dept
PO Box 3608                         PO Box 30285                              PO Box 15298
Dublin, OH 43016-0306               Salt Lake City, UT 84130-0287             Wilmington, DE 19850-5298



Sara E. Gonzalez                     IRS                                      Mercedes-Benz Financial
196 Spyglass Park Loop               Po Box 7346                              Services
Montgomery, TX 77316                 Philadelphia, PA 19101-7346              Attn: Bankruptcy
                                                                              PO Box 685
                                                                              Roanoke, TX 76262


Synchrony Bank/Banana                 TD Retail Card/Renovate Card
Republic                               Attn: Bankruptcy 1000 MacArthue Blvd
Attn: Bankruptcy Dept                  Mahwah, NJ 07430
PO Box 965060
Orlando, FL 32896-5060
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                 Notice Required by 11 U.S.C. § 342(b) for
                 Individuals Filing for Bankruptcy (Form 2010)


                   This notice is for you if:                                            Chapter 7: Liquidation

                         You are an individual filing for                                                    $245      filing fee
                         bankruptcy, and                                                                         $75   administrative fee
                                                                                                    +            $15   trustee surcharge
                         Your debts are primarily consumer
                         debts.                                                                              $335      total fee
                         Consumer debts are defined in 11 U.S.C.
                         § 101(8) as “incurred by an individual                         Chapter 7 is for individuals who have
                         primarily for a personal, family, or                           financial difficulty preventing them from
                         household purpose.”                                            paying their debts and who are willing to
                                                                                        allow their non- exempt property to be used
                                                                                        to pay their creditors. The primary purpose
                                                                                        of filing under chapter 7 is to have your
                                                                                        debts discharged. The bankruptcy discharge
                 The types of bankruptcy that are                                       relieves you after bankruptcy from having to
                 available to individuals                                               pay many of your pre-bankruptcy debts.
                                                                                        Exceptions exist for particular debts, and
                 Individuals who meet the qualifications may file                       liens on property may still be enforced after
                 under one of four different chapters of the                            discharge. For example, a creditor may
                 Bankruptcy Code:                                                       have the right to foreclose a home
                                                                                        mortgage or repossess an automobile.
                         Chapter 7 — Liquidation
                                                                                        However, if the court finds that you have
                         Chapter 11— Reorganization                                     committed certain kinds of improper conduct
                                                                                        described in the Bankruptcy Code, the court
                         Chapter 12— Voluntary repayment plan                           may deny your discharge.
                                     for family farmers or
                                     fishermen                                          You should know that even if you file chapter 7
                                                                                        and you receive a discharge, some debts are
                         Chapter 13— Voluntary repayment plan                           not discharged under the law. Therefore, you
                                          for individuals with regular                  may still be responsible to pay:
                                          income
                                                                                                 most taxes;
                You should have an attorney review your                                          most student loans;
                 decision to file for bankruptcy and the choice                                  most domestic support and property
                 of                                                                              settlement obligations;
                 chapter.




Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 1
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                                                                                        your income is more than the median income for
                         most fines, penalties, forfeitures, and
                                                                                        your state of residence and family size,
                         criminal restitution obligations; and                          depending on the results of the Means Test, the
                         certain debts that are not listed in your
                                                                                        U.S. trustee, bankruptcy administrator, or
                         bankruptcy papers.                                             creditors can file a motion to dismiss your case
                 You may also be required to pay debts arising                          under § 707(b) of the Bankruptcy Code. If a
                 from:                                                                  motion is filed, the court will decide if your case
                                                                                        should be dismissed. To avoid dismissal, you
                         fraud or theft;
                                                                                        may choose to proceed under another chapter of
                         fraud or defalcation while acting in breach
                                                                                        the Bankruptcy Code.
                         of fiduciary capacity;
                         intentional injuries that you inflicted; and
                                                                                        If you are an individual filing for chapter 7
                         death or personal injury caused by
                                                                                        bankruptcy, the trustee may sell your property
                         operating a motor vehicle, vessel, or
                                                                                        to pay your debts, subject to your right to
                         aircraft while intoxicated from alcohol or
                                                                                        exempt the property or a portion of the proceeds
                         drugs.
                                                                                        from the sale of the property. The property, and
                                                                                        the proceeds from property that your
                 If your debts are primarily consumer debts, the
                                                                                        bankruptcy trustee sells or liquidates that you
                 court can dismiss your chapter 7 case if it finds
                                                                                        are entitled to, is called exempt property.
                 that you have enough income to repay creditors
                                                                                        Exemptions may enable you to keep your home,
                 a certain amount. You must file Chapter 7
                                                                                        a car, clothing, and household items or to
                 Statement of Your Current Monthly Income
                                                                                        receive some of the proceeds if the property is
                 (Official Form 122A–1) if you are an individual
                                                                                        sold.
                 filing for bankruptcy under chapter 7. This form
                 will determine your current monthly income and
                                                                                        Exemptions are not automatic. To exempt
                 compare whether your income is more than the
                                                                                        property, you must list it on Schedule C: The
                 median income that applies in your state.
                                                                                        Property You Claim as Exempt (Official Form
                                                                                        106C). If you do not list the property, the
                 If your income is not above the median for your
                                                                                        trustee may sell it and pay all of the proceeds to
                 state, you will not have to complete the other
                                                                                        your creditors.
                 chapter 7 form, the Chapter 7 Means Test
                 Calculation (Official Form 122A–2).

                                                                                         Chapter 11: Reorganization
                 If your income is above the median for your
                 state, you must file a second form —the                                                    $1,167     filing fee
                 Chapter 7 Means Test Calculation (Official Form
                                                                                                   +            $550   administrative fee
                 122A–2). The calculations on the form—
                 sometimes called the Means Test —deduct from                                               $1,717     total fee
                 your income living expenses and payments on
                 certain debts to determine any amount available                        Chapter 11 is often used for reorganizing a
                 to pay unsecured creditors. If                                         business, but is also available to individuals. The
                                                                                        provisions of chapter 11 are too complicated to
                                                                                        summarize briefly.




Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)         page 2
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                   Read These Important Warnings

                       Because bankruptcy can have serious long-term financial and legal consequences, including
                       loss of your property, you should hire an attorney and carefully consider all of your options
                       before you file. Only an attorney can give you legal advice about what can happen as a result
                       of filing for bankruptcy and what your options are. If you do file for bankruptcy, an attorney
                       can help you fill out the forms properly and protect you, your family, your home, and your
                       possessions.

                       Although the law allows you to represent yourself in bankruptcy court, you should
                       understand that many people find it difficult to represent themselves successfully. The rules
                       are technical, and a mistake or inaction may harm you. If you file without an attorney, you are
                       still responsible for knowing and following all of the legal requirements.

                       You should not file for bankruptcy if you are not eligible to file or if you do not intend to file
                       the necessary documents.

                       Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud
                       in your bankruptcy case. Making a false statement, concealing property, or obtaining money
                       or property by fraud in connection with a bankruptcy case can result in fines up to $250,000,
                       or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                        Under chapter 13, you must file with the court a
                  Chapter 12: Repayment plan for
                  family                                                                plan to repay your creditors all or part of the
                             farmers or fishermen                                       money that you owe them, usually using your
                                                                                        future earnings. If the court approves your plan,
                                      $200     filing fee                               the court will allow you to repay your debts, as
                             +          $75    administrative fee                       adjusted by the plan, within 3 years or 5 years,
                                                                                        depending on your income and other factors.
                                      $275     total fee
                                                                                        After you make all the payments under your
                 Similar to chapter 13, chapter 12 permits family                       plan, many of your debts are discharged. The
                 farmers and fishermen to repay their debts over                        debts that are not discharged and that you may
                 a period of time using future earnings and to                          still be responsible to pay include:
                 discharge some debts that are not paid.
                                                                                                 domestic support obligations,
                                                                                                 most student loans,
                  Chapter 13: Repayment plan for                                                 certain taxes,
                             individuals with regular                                            debts for fraud or theft,
                             income                                                              debts for fraud or defalcation while acting
                                                                                                 in a fiduciary capacity,
                                      $235     filing fee                                        most criminal fines and restitution
                             +          $75    administrative fee                                obligations,
                                                                                                 certain debts that are not listed in your
                                      $310     total fee
                                                                                                 bankruptcy papers,
                                                                                                 certain debts for acts that caused death
                 Chapter 13 is for individuals who have regular
                                                                                                 or
                 income and would like to pay all or part of their
                                                                                                 personal injury, and
                 debts in installments over a period of time and
                                                                                                 certain long-term secured debts
                 to discharge some debts that are not paid. You
                 are eligible for chapter 13 only if your debts are
                 not more than certain dollar amounts set forth in
                 11 U.S.C. § 109.




Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)         page 3
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                   Warning: File Your Forms on Time                                              A married couple may file a bankruptcy
                                                                                                 case together—called ajoint case. If you
                   Section 521(a)(1) of the Bankruptcy Code                                      file a joint case and each spouse lists the
                   requires that you promptly file detailed                                      same mailing address on the bankruptcy
                   information about your creditors, assets,                                     petition, the bankruptcy court generally will
                   liabilities, income, expenses and general                                     mail you and your spouse one copy of
                   financial condition. The court may dismiss                                    each notice, unless you file a statement
                   your bankruptcy case if you do not file this                                  with the court asking that each spouse
                   information within the deadlines set by the                                   receive separate copies.
                   Bankruptcy Code, the Bankruptcy Rules,
                   and the local rules of the court.
                                                                                                 Understand which services you
                                                                                                 could receive from credit
                   For more information about the documents                                      counseling agencies
                   and their deadlines, go to:
                   http://www.uscourts.gov/bkforms                                               The law generally requires that you receive
                   /bankruptcy_form                                                              a credit counseling briefing from an
                   s.html#procedure.                                                             approved credit counseling agency. 11
                                                                                                 U.S.C. § 109(h). If you are filing a joint
                                                                                                 case, both spouses must receive the
                 Bankruptcy crimes have serious                                                  briefing. With limited exceptions, you must
                 consequences
                                                                                                 receive it within the 180 days before you
                         If you knowingly and fraudulently                                       file your bankruptcy petition. This briefing
                         conceal                                                                 is usually conducted by telephone or on
                         assets or make a false oath or statement                                the Internet.
                         under penalty of perjury—either orally or
                         in writing—in connection with a                                         In addition, after filing a bankruptcy case,
                         bankruptcy case, you may be fined,                                      you generally must complete a financial
                         imprisoned, or both.                                                    management instructional course before
                         All information you supply in connection                                you can receive a discharge. If you are
                         with a bankruptcy case is subject to                                    filing a joint case, both spouses must
                         examination by the Attorney General                                     complete the course.
                         acting
                         through the Office of the U.S. Trustee,                                 You can obtain the list of agencies
                         the                                                                     approved to provide both the briefing and
                         Office of the U.S. Attorney, and other                                  the instructional course from:
                         offices and employees of the U.S.                                       http://justice.gov/ust/eo/hapcpa
                         Department of Justice.                                                  /ccde/cc_approved.html.


                 Make sure the court has your                                                    In Alabama and North Carolina, go to:
                 mailing address                                                                 http://www.uscourts.gov/FederalCourts
                                                                                                 /Bankruptcy/
                 The bankruptcy court sends notices to the                                       BankruptcyResources/ApprovedCredit
                 mailing address you list on Voluntary Petition for                              AndDebtCounselors.aspx.
                 Individuals Filing for Bankruptcy(Official Form
                 101). To ensure that you receive information                                    If you do not have access to a computer,
                 about your case, Bankruptcy Rule 4002 requires                                  the clerk of the bankruptcy court may be
                 that you notify the court of any changes in your                                able to help you obtain the list.
                 address.

Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)           page 4
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                           IN THE UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION
      IN RE: Sierra Maldonado, Rolando                                    CASE NO
             A
                                                                          CHAPTER 13



                             DECLARATION FOR ELECTRONIC FILING OF BANKRUPTCY
                                  PETITION, LISTS, STATEMENTS, AND SCHEDULES


PART I: DECLARATION OF PETITIONER:
As an individual debtor in this case, or as the individual authorized to act on behalf of the corporation, partnership, or
limited liability company seeking bankruptcy relief in this case, I hereby request relief as, or on behalf of, the debtor in
accordance with the chapter of title 11, United States Code, specified in the petition to be filed electronically in this
case. I have read the information provided in the petition, lists, statements, and schedules to be filed electronically in
this case and I HEREBY DECLARE UNDER PENALTY OF PERJURY that the information provided therein, as well as the
social security information disclosed in this document, is true and correct. I understand that this Declaration is to be filed
 with the Bankruptcy Court within five (5) business days after the petition, lists, statements, and schedules have been
filed electronically. I understand that a failure to file the signed original of this Declaration will result in the dismissal of
my case.

❑        [Only include for Chapter 7 individual petitioners whose debts are primarily consumer debts] --
         I am an individual whose debts are primarily consumer debts and who has chosen to file under chapter 7. I am
         aware that I may proceed under chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
         available under each chapter, and choose to proceed under chapter 7.
❑        [Only include if petitioner is a corporation, partnership or limited liability company] --
         I hereby further declare under penalty of perjury that I have been authorized to file the petition, lists,
         statements, and schedules on behalf of the debtor in this case.

Date 08/03/2020                /s/ Rolando A Sierra Maldonado
                           Sierra Maldonado, Rolando A
                           Debtor
                           Soc. Sec. No. 9 7 3 6




PART II: DECLARATION OF ATTORNEY:
I declare UNDER PENALTY OF PERJURY that: (1) I will give the debtor(s) a copy of all documents referenced by Part I
herein which are filed with the United States Bankruptcy Court; and (2) I have informed the debtor(s), if an individual
 with primarily consumer debts, that he or she may proceed under chapter 7, 11, 12, or 13 of title 11, United States
Code, and have explained the relief available under each such chapter.

Date 08/03/2020                     /s/ Ricardo Guerra
                           Ricardo Guerra
                           Attorney
